
PER CURIAM
*260David E. Smith appeals from the motion court's "Findings of Fact, Conclusions of Law, Order, Judgment, and Decree of Court on Motion to Vacate, Set Aside, or Correct Conviction and Sentence Pursuant to Rule 29.15" denying his "Amended Motion to Vacate, Set Aside, or Correct Judgment and Sentences," following an evidentiary hearing. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential or precedential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the Judgment pursuant to Rule 84.16(b).
